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                                                         7
                                                         8                     IN THE UNITED STATES DISTRICT COURT

                                                         9                          FOR THE DISTRICT OF ARIZONA

                                                        10
                                                             Adam McDorman,                              )
                                                        11                                               )
                                                        12                      Plaintiff,               ) Case No. CV-22-2180-PHX-SRB
                                                                                                         )
ROBINSON LAW OFFICES
                       202 E. Earll Drive., Suite 490




                                                        13          vs.                                  )
                         Phoenix, Arizona 85012




                                                                                                         )            ORDER
                              (602) 885-2627




                                                        14                                               )
                                                             Valley Christian Schools, an Arizona        )
                                                        15   non-profit corporation,                     )
                                                                                                         )
                                                        16                                               )
                                                                               Defendant.                )
                                                        17
                                                        18
                                                                   The Court having reviewed the parties “Stipulation to Extend Deadlines Case
                                                        19
                                                             Management Order (First Request)”, dkt. # 26, and good cause appearing:
                                                        20
                                                        21         IT IS ORDERED granting the parties’ Stipulation.

                                                        22
                                                                          Fact Discovery. The deadline for completing fact discovery, including
                                                        23
                                                                   discovery by subpoena, shall be May 6, 2024.
                                                        24
                                                                          Expert Disclosures and Discovery.
                                                        25
                                                                          a.    Plaintiff(s) shall provide full and complete expert disclosures, as
                                                        26
                                                                   required by Rule 26(a)(2)(A)-(C) of the Federal Rules of Civil Procedure, no
                                                        27
                                                                   later than December 8, 2023.
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                                                         1               b.   Defendant(s) shall provide full and complete expert disclosures,

                                                         2       as required by Rule 26(a)(2)(A)-(C) of the Federal Rules of Civil Procedure,

                                                         3       no later than January 12, 2024.

                                                         4               c.   Rebuttal expert disclosures, if any, shall be made no later than

                                                         5       February 16, 2024.

                                                         6               d.   Expert depositions shall be completed no later than April 26,

                                                         7       2024.

                                                         8               e.   Good Faith Settlement Talks. All parties and their counsel shall

                                                         9       meet in person and engage in good faith settlement talks no later than January

                                                        10       26, 2024.

                                                        11
                                                        12                    Dated this 8th day of November, 2023.
ROBINSON LAW OFFICES
                       202 E. Earll Drive., Suite 490




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                         Phoenix, Arizona 85012
                              (602) 885-2627




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